           Case 1:16-cr-00187-JLT-BAM Document 134 Filed 12/11/19 Page 1 of 2


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7
                            IN THE UNITED STATES DISTRICT COURT
8

9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITEDS STATES OF AMERICA,                      )   CASE NO. 1:16-CR-00187 DAD-BAM
                                                     )
12                                                   )
                                  Plaintiff,         )   STIPULATION AND ORDER TO
13                                                   )   CONTINUE STATUS CONFERENCE
                      v.                             )
14                                                   )   Hon. Dale A. Drodz
     ROBERT GONZALEZ,                                )
15                                                   )
                                                     )
16                                                   )
                                                     )
17                               Defendant.          )
                                                     )
18                                                   )
                                                     )
19                                                   )
                                                     )
20                                                   )

21          Defendant Robert Gonzalez, through his undersigned counsel, hereby requests that
22
     current status conference on competence issues currently set for December 16, 2019 be
23
     continued to January 15, 2020 at 10:00 a.m.
24

25          This continuance is necessary to complete the court-ordered psychiatric evaluation.

26   The evaluation process is ongoing but requires additional diagnostic tests that will not be
27
     completed before the currently set status conference.
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           Case 1:16-cr-00187-JLT-BAM Document 134 Filed 12/11/19 Page 2 of 2


1           Undersigned counsel has corresponded with AUSA Kimberly A. Sanchez, who has no
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     objection to the status conference date of January 15, 2020 at 10:00 a.m.
3
            The parties also agree that the delays resulting from the continuance shall be excluded
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5
     for defense investigation, continuity of counsel and trial preparation and completion of the

6    court-ordered psychiatric evaluation in the interest of justice pursuant to 18 USC §3161
7    (h)(7)(A) and §3161 (h)(7)(B)(1).
8
            IS SO STIPULATED.
9
     DATED: December 10, 2019                              Respectfully Submitted,
10

11                                                         /s/_Virna L. Santos_________
                                                           VIRNA L. SANTOS
12                                                         Counsel for Robert Gonzalez
13
     DATED: December 10, 2019                              /s/_Kimberly A. Sanchez_____
14                                                         KIMBERLY A. SANCHEZ
                                                           Assistant U.S. Attorney
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16

17
                                                 ORDER
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19
            The status conference set for December 16, 2019 is hereby CONTINUED to January

20   15, 2020 at 10:00. Time shall be excluded for defense investigation, continuity of counsel and
21   trial preparation and completion of the court-ordered psychiatric evaluation in the interest of
22
     justice pursuant to 18 USC §3161 (h)(7)(A) and §3161 (h)(7)(B)(1).
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24   IT IS SO ORDERED.
25
        Dated:     December 11, 2019
26                                                      UNITED STATES DISTRICT JUDGE
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